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                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and I am
currently assigned to the FBI’s Miami Field Office. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                Evidence Linking JULIO CHANG to Assault on the U.S. Capitol

        On or about March 31, 2021, the FBI received an anonymous tip claiming that JULIO
CHANG, with a phone number ending in 4798, had posted information on his Facebook page
indicating CHANG had participated in the January 6 Riots. According to the tip, CHANG posted
tickets indicating train travel from Florida to Washington, D.C. for January 6, and had made
comments about the “deep state” and a “1776 Part 2 Revolution.”

       The FBI subsequently reviewed CHANG’s social media and observed Facebook posts
from January 6, 2021 containing photographs showing CHANG outside the Capitol Building with
the caption “The deplorables have taken back our country.” In the photographs, CHANG can be
seen wearing a dark colored Trump hat with white lettering, a dark colored jacket, blue backpack,
and a scarf with a U.S. flag design.




     CHANG also posted a video, which was no longer available, taken near the Washington
Monument with the caption “The beginning of our Second American Revolution.”
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        Phone records obtained from AT&T show that the phone number ending in 4798 is
subscribed to by JULIO CHANG at an address in Florida. According to records obtained through
a search warrant which was served on AT&T, on January 6, 2021, in and around the time of the
incident, the cellphone associated with the phone number ending in 4798 was identified as having
utilized a cell site consistent with providing service to a geographic area that includes the interior
of the United States Capitol building.

        According to video footage, CHANG entered the Capitol Building at approximately 3:03
p.m. on January 6, 2021, through the Rotunda doors on the east side of the building. In the image
below, CHANG (circled in red) can be seen walking through the Rotunda Door, wearing the same
dark colored Trump hat with white lettering, dark colored jacket, blue backpack, and scarf with a
U.S. flag design as seen in CHANG’s Facebook post.
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       Additional video shows CHANG in the Rotunda of the Capitol Building. The screenshot
below from approximately 3:04 p.m. shows Chang (circled in red) wearing the same distinctive
clothing and using a cellphone to take photographs and/or video in the Rotunda.




       Florida wage and earnings records show that JULIO CHANG was previously employed
by the Broward County Sheriff’s Office. On or about September 22, 2021, the FBI showed the
above two screenshots to Person-1, who worked with JULIO CHANG when they both were
employed by the Broward County Sheriff’s Office. Person-1 identified the individual in the two
screenshots as JULIO CHANG.

       Law enforcement has obtained the Florida driver’s license photograph for JULIO CHANG
and confirmed that the individual in the photograph appears to be the same person identified by
Person-1 in the screenshots above and in the social media posts shown above.

        Based on the aforementioned evidence, there is probable cause to believe that JULIO
CHANG was present inside the U.S. Capitol on January 6, 2021 during the riot and related offenses
that occurred at the U.S. Capitol Building on January 6, 2021 and participated in the obstruction
of the Congressional proceedings.

        Your affiant submits that there is also probable cause to believe that JULIO CHANG
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do; and (2) knowingly, and with
intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
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Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that JULIO CHANG violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Colin Gregory, Special Agent
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 23rd day of September 2021.
                                                                        Digitally signed by
                                                                        G. Michael Harvey
                                                                        Date: 2021.09.23
                                                                        10:43:27 -04'00'
                                                      ___________________________________
                                                      HONORABLE G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
